Case 1:19-cv-04474-LDH-RER Document 18 Filed 09/01/20 Page 1 of 1 PageID #: 104




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK

  SYMBOLOGY INNOVATIONS, LLC,

                            Plaintiff,                        Civil Action No. 1:19-cv-04474-LDH-RER

         v.

  NATURAL NECTAR, INC.,                                       TRIAL BY JURY DEMANDED

                            Defendant.

                 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant to Fed.

 R. Civ. P. 41 (a)(1), and hereby voluntarily dismisses all of the claims asserted against Defendant Natural

 Nectar, Inc. in the within action WITHOUT PREJUDICE. Natural Nectar, Inc. has not served an answer

 or a motion for summary judgment.

  Dated: September 1, 2020                         Respectfully submitted,

                                                   SAND, SEBOLT & WERNOW CO., LPA

                                                   /s/ Howard L. Wernow
                                                   Howard L. Wernow (Pro Hac Vice)
                                                   Aegis Tower – Suite 1100
                                                   4940 Munson Street NW
                                                   Canton, Ohio 44718
                                                   (330) 244-1174
                                                   howard.wernow@sswip.com

                                                   Stamatios Stamoulis (#4606)
                                                   STAMOULIS & WEINBLATT LLC
                                                   800 N. West Street, Third Floor
                                                   Wilmington, DE 19801
                                                   (302) 999-1540
                                                   stamoulis@swdelaw.com

                                                   ATTORNEYS FOR PLAINTIFF
